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IN THE UNITED STATES DISTRlCT COURT
FOR THE MIDDLE DISTRICT OF FLORIDA
JACKSONVILLE DIVISION
DEBORAH PORTER CAHILL,
Plaintiff, CASE NO.: 3:l3»CV-231-5-20JRK

VS.

TARGET CORPORATION, a Foreign
Proiit Corporation,

Defendant.

 

DEFENDANT’S TRIAL BRIEF AND SUPPOR'I`ING MEMORANDUM

Defendant, Target Corporation, by and through its undersigned attorneys and pursuant to
this Court’s Order, respectfully submits to the Court its trial brief regarding significant disputed
issues of law which are likely to arise at trial and in support thereof, states as follows:

I. BACKGROUND

This case arises out of an accident that happened on May 27, 2009 at a Target store located
at 13750 Beach Boulevard, Jacksonville, Florida. The Plaintiff, Deborah Porter Cahill, alleges
Target Corporation was negligent when one of its employees struck her with a cart during the
course and scope of his employment With Target, causing Plaintiff to fall and sustain injuries.
Target Corporation acknowledges an employee struck Ms. Cahill with a cart while in the course
and scope of his employment, but denies the accident caused injury to the Plaintiff, and further

alleges the Plaintiff, Deborah Porter Cahill, may have also been negligent

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II. EVIDENTIARY ISSUES AND MEMORANDUM OF LAW

In addition to those matters raised in Defendant’s Amended l\/Iotions in Limine, (Doc. No.
45), incorporated herein by reference, Defendant submits the following evidentiary issues and
argument for the Court’s consideration

1. Plaintiff’s Anticipated Hearsav

Plaintift’s medical records are replete with Plaintift’s statements to various treating
physicians about What other treating physicians have purportedly told her or recommended for her
in terms of medical treatment She also made similar references during her deposition testimony
For example, during her .luly 3, 2014 appointment With Dr. Christopher Roberts of Jacl<;sonville
Spine Center, she told Dr. Roberts that Dr. Robert Hurford had recommended surgery for her back
and possibly her neck. This statement was also false, according to records from Dr. Hurford.
These types of statements constitute inadmissible hearsay which should not be permitted at trial.
Federal Rule of Evidence 301(0)(2) provides that “hearsay” is a statement that a party offers in
evidence to prove the truth of the matter asserted in the statement The Plaintiff should not be
permitted to testify at trial about anything she was told by her physicians Ms. Cahill has a strong
tendency to give long rambling answers, often unresponsive, and Defendant is concerned she will
improperly offer hearsay testimony about things that have been said to her at various times by her
many treating physicians

2. ]_Elrclusion of Testimonv Regarding the Possibilitv of Future Surgerv

Defendant anticipates Plaintiff may attempt to allege that as a result of the Target accident,
she may need future medical treatment in the form of future neck or back surgeries or implantation
of a dorsal column stimulator. Since this is a diversity case, Florida’s substantive law applies

regarding a Plaintiffs burden of proof on future damages Hendrix v. Evenflo Company, Inc., 609

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F.3d 1183 (11th Cir. 2010); Ramirez v. E.l. Dupont De Nemours and Companv, 2010 WL
5055856, n.2 (M.D. Fla. 2010). Defendant submits Plaintiff should not be permitted to testify or
present testimony regarding the possibility of any future surgeries or medical procedure

ln Crosbv v. Fleming & Sons. Inc., 447 So. 2d 347 (Fla. 1St DCA 1984), the Court granted
Defendant’s motion for new trial based on a doctor’s speculative testimony as to his opinions on
the Plaintiff’s future medical care, as the doctor’s opinions were couched in terms of
“possibilities,” which were found not probative of the Plaintiff’ s claim for future damages The
physician had testified in terms of possibilities not probabilities as to what the Plaintiff’s iiiture
condition and medical needs might be. li at 348-49. Subsequently, in 3-M Co;p.-McGhan
Medical Renorts Division v. Brown, 475 So. 2d 994 (Fla. lSt DCA 1985), the First District Court
of Appeal addressed error in allowing a treating physician to opine as to future medical treatment
where the opinion was couched in terms of possibilities instead of probabilities The Court
recognized this type of improperly admitted evidence could not be considered harmless _Id at
998. Plaintiff should be prohibited from testifying or presenting opinion testimony from her
treating physicians regarding the possibility of any future surgeries or medical procedure.

3. Plaintiff Onlv Presenting Portions of Medical Bills paid by Medicare

Since this is a diversity case, Florida’s substantive law applies regarding a Plaintiff’s
burden of proof on damages Hendrix v. Evenflo Companv. lnc., 609 F.3d 1183 (l lth Cir. 2010);
Ramirez v. E.l. Dupont De Nemours and Comnanv, 2010 WL 5055856, n.2 (M.D. Fla. 2010). One
of the issues in this case is the appropriate measure of compensatory damages for past medical
expenses The objective of compensatory damages is to “make the injured party whole to the extent
that it is possible to measure his injury in terms of money.” Cooperative Leasing, lnc. and Domer

v. Johnson, 872 So. 2d 956 (Fla. 2d DCA 2004) (quoting Mercurv Motors Express, Inc.. v. Smith,

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393 So. 2d 545, 547 (Fla. 1981)). In Cooperative Leasing, supra, the appellants (defendants in the
trial court) challenged judgment entered in favor of the appellee in a personal injury action where
the trial court allowed the appellee to admit into evidence bills for medical expenses for which she
never incurred liability and in allowing her to recover an amount in excess of benefits paid by
Medicare as an element of compensatory damages The appellate court agreed and concluded the
appellee was “not entitled to recover for medical expenses beyond those paid by Medicare because
she never had any liability for those expenses and would have been made whole by an award
limited to the amount that Medicare paid to her medical providers.” Ld. at 958. The Cooperative
_L§_as_ing Court recognized the case of Thvssenkrupp Elevator CorD. v. Lasl<v, 868 So. 2d 547 (Fla.
4th DCA 2003), which concluded that the difference between the amount paid by Medicare and the
amount charged by medical providers should not have been admitted into evidence. g In
reaching its conclusion, the Thyssenkrupp Court relied on Florida thsician’s lnsurance
Reciprocal v. Stanley, 452 So. 2d 514 (Fla. 1984), which quoted at length from Peterson v. Lou
Bachrodt Chevrolet Co., 392 N.E.2d l (lll. 1979). The issue before the court in mw was

whether the Plaintiff could recover the value of free medical services In Peterson, the court stated

 

an individual is not entitled to recover for the value of services he has obtained without any
expense, obligation or liability. I_d. at 5. Many other courts have also concluded that the difference
between the amount paid by Medicare or Medicaid and the amount charged by medical providers
is not compensable §ee_ Hanif v. I-Iousing Authoritv, 200 Cal. App. 3d 635 (1988); Moorhead v.
Crozer Chester Med. Ctr., 564 Pa. 156 (2001); Bates v. Hogg, 921 P.2d 247 (Kan. App. 1996).
The Cooperative Leasing Court explained that section 768.76, Fla. Stat., excludes
Medicare benefits as a collateral source because the federal government has a right to

reimbursement from the plaintiffs recovery for payments it has made on their behalf Under

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federal law, the government’s right to reimbursement does not extend to amounts never actually
paid to medical providers lf the Plaintiff were able to recover the full amount of her medical bills,
including the amount for which she never became liable and for which the federal government has
no right to reimbursement, she would receive a windfall that is contrary to the legislative policy
evidenced by the collateral source provision of the Florida Statutes, section 768.76. As such, the
Court held “the appropriate measure of compensatory damages for past medical expenses when a
plaintiff has received Medicare benefits does not include the difference between the amount that
the Medicare providers agreed to accept and the total amount of the plaintiffs medical bills” g
at 960. As in Cooperative Leasing, this Court should prohibit the Plaintiff from introducing the
full amount of her past medical bills into evidence. Only the amounts paid by Medicare are
recoverable

As indicated in Defendant’s Amended Motions in Limine (Doc. No. 45), there is no
evidence to support Plaintiff`s allegation that her neck and back surgeries were necessitated or
caused by the Target accident I-Ier own treating physician does not relate these surgeries to the
accident Of these medical bills obtained to date, (excluding ones pertaining to Plaintiff’ s neck
and back surgeries, and follow-up physical therapy ordered after each surgery), the Plaintiff’s total
medical bills are $64,836.30. However, of that amount, Medicare paid 315,340.43 of those
remaining bills Defendant therefore submits Plaintiff should only be permitted to submit evidence
of the $15,340.43 which represents medical bills paid by Medicare for treatment apart from the
two surgical procedures

The Plaintiff has supplemental health insurance with United Healthcare, which has paid
for non-surgical expenses totaling $2,740.53. lt is assumed a lien exists for these payments, and

therefore Plaintiff would be entitled to “board” this amount as well.

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CERTIFICATE OF SERVICE
IHEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by

electronic mail to Thomas D. Roebig, Esquire, Florin Roebig, P.A., Primary E-mail:

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. a 5
PISERVICE@florinroebig.com, th1s g day of September, 2014.

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